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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                BOWLING GREEN DIVISION
                            CIVIL ACTION NO. 1:17-CV-00005-GNS


 JOSEPH KELLAR                                                                      PLAINTIFF

 v.

 MH EQUIPMENT CORPORATION, and
 MH EQUIPMENT OHIO, LLC                                                           DEFENDANTS

 v.

 SUN PRODUCTS CORPORATION                                        THIRD PARTY DEFENDANT


                                            ORDER

        This matter is before the Court on Third Party Defendant’s Motion to Dismiss (DN 35).

 Defendant/Third-Party Plaintiff MH Equipment Corporation did not file a response. The Court

 has reviewed the Motion and agrees that Sun Products Corporation should be dismissed pursuant

 to KRS 342.690(1). Defendants, however, may be entitled to an apportionment instruction at

 trial. KRS 411.182(1); Adam v. J.B. Hunt Transp., Inc., 130 F.3d 219, 228 (6th Cir. 1997).

        Accordingly, IT IS HEREBY ORDERED that Third Party Defendant’s Motion to

 Dismiss (DN 35) is GRANTED, and Defendant/Third Party Plaintiff’s claims against Sun

 Products Corporation are DISMISSED WITH PREJUDICE.




                                                           Greg N. Stivers, Judge
                                                         United States District Court
                                                                 March 12, 2018


 cc:    counsel of record
